                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                  5:06CR46-V

UNITED STATES OF AMERICA

      v.                                                         ORDER

DANIEL HOLMES,

                  Defendant.


       THIS MATTER is before the Court on the Defendant’s “Motion for Bond” filed May 23,

2007 (document #39). In support of his motion, the Defendant argues only that the Superceding Bill

of Indictment “does not charge Mr. Holmes with manufacturing methamphetamine within 1000

yards [sic] of school property” (as the original indictment did), and that Count One, which alleged

“a detectable amount of methamphetamine” in the original indictment, now alleges “at least five (5)

grams of methamphetamine.”

       Simply put, the Defendant’s Motion for Bond does not allege a sufficient change in

circumstances to justify a review of bond/detention. Specifically, the one factor (elimination of the

proximity to school property allegation) could lead to a lower advisory guidelines range, but the

other charge is adverse to the Defendant, increasing the sentence from a potential 20-year maximum

to a 5-year minimum/40-year maximum. An adverse change in circumstances, of course, does not

support a detained defendant’s request or motion for bond.

       NOW THEREFORE, the Defendant’s “Motion for Bond” filed May 23, 2007 (document

#39) is DENIED.




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 The Clerk is directed to send copies of this Order to counsel for the parties.

 SO ORDERED.

                                           Signed: May 25, 2007




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